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                     EXHIBIT 6
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                             THE UNDER SECRETARY OF DEFENSE
                                      3010 DEFENSE FENTAGON
                                     WASHINGTON, DC 20301-3010




 ACQUISITION.
TECHNOLOGY
                                                                             J 6 JUN 2008
AND LOGISTICS




      MEMORANDUM FOR SECRETARIES OF THE MILITARY DEPARTMENTS
                       ATTN: SERVICE ACQUISITION EXECUTIVES
                    CHAIRMAN, JOINT CHIEFS OF STAFF
                       ATTN: COMMANDER U.S. SPECIAL OPERATIONS
                       COMMAND
                    DIRECTORS OF THE DEFENSE AGENCIES

      SUBJECT: Contracted Fundamental Research

      References: (a) National Security Decision Directive (NSDD) 189, National Policy on
                      the Transfer of Scientific, Technical, and Engineering Infonnation,
                      September 21, 1985 (copy attached)
                  (b) DoD Directive 5230.24, Distribution Statements on Technical
                      Documents, March 18, 1987
                  (c) DoD Instruction 5230.27, Presentation of DoD-Related Scientific and
                      Technical Papers at Meetings, October 6, 1987

             The Department of Defense (DoD) fully supports free scientific exchanges and
      dissemination of research results to the maximwn extent possible. Critical to enabling
      exchanges and dissemination is an understanding on the part of DoD program managers,
      potential grantees, and contractors of the policies governing restrictions that may be
      imposed by the DoD on basic and applied research. Understanding will help guide DoD
      program managers, and contract and grant recipients, in making plans and decisions that
      will affect perfonnance of research under DoD awards and implementing measures that
      may be needed to comply with security controls.

             I have determined that clarifying guidance is required to ensure that the DoD will
      not restrict disclosure of the results of contracted fundamental research, as herein defined,
      unless the research is classified for reasons of national security, or as otherwise required
      by statute, regulation, or Executive Order.

             Reference (a) established the national policy for controlling the flow of scientific,
      technical, and engineering infonnation produced in federally funded fundamental
      research at colleges, universities, and laboratories. Reference (a) defines fundamental
      research as follows:




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    · '''.Fundamental research' means basic and applied research in science and
engmeenng, the results of which ordinarily are published and shared broadly within the
scientific community, as distinguished from proprietary research and from industrial
develop~ent, design, ~roduction, ~nd product utilization, the results of which ordinarily
are restncted for propnetary or natIOnal security reasons."

       The policy makes clear that the products of fundamental research are to remain
unrestricted to the maximum extent possible. When control is necessary for national
security reasons, classification is the only appropriate mechanism. The DoD will place no
other restrictions on the conduct or reporting of unclassified fundamental research, except
as otherwise required by statue, regulation, or Executive Order.

     The definition of "contracted fundamental research," or fundamental research in a
DoD contractual context, was established by References (b) and (c). The definition is:

      "Contracted Fundamental Research. Includes [research performed under] grants
      and contracts that are (a) funded by budget Category 6.1 ("Research"), whether
      performed by universities or industry or (b) funded by budget Category 6.2
      ("Exploratory Development") and performed on-campus at a university. The
      research shall not be considered fundamental in those rare and exceptional
      circumstances where the 6.2-funded effort presents a high likelihood of disclosing
      performance characteristics of military systems or manufacturing technologies that
      are unique and critical to defense, and where agreement on restrictions have been
      recorded in the contract or grant."

        The terms "budget category 6.1" ("Research") and "budget category 6.2"
("Exploratory Development") have been replaced by Research, Development, Test, and
Evaluation Budget Activity 1 (Basic Research) and 2 (Applied Research). With this
clarification, these references continue to define national and DoD policy on the transfer
of the products of contracted fundamental research. This means that DoD awards for the
performance of fundamental research should, with rare exceptions, not involve classified
items, information, or technology. Nor, with rare exceptions, should an award be
managed or executed in such a manner that it becomes subject to controls under U.S.
statutes, including export control. The performance of fundamental research, again with
rare exceptions, should not be managed in a way that it becomes subject to restrictions on
the involvement of foreign researchers or, publication restrictions.

       I recognize that there will be compelling reasons for DoD to place controls on
some applied research that is performed on campus at a university, but such occasions
should be rare and each must be carefully scrutinized. I direct the addressees, without
further delegation, to review and concur that the decisions of their subordinates in these
exceptional circumstances are required by statute, regulation, or an Executive Order.


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       The effective implementation of this guidance requires that all 000 personnel
involved in the acquisition and monitoring of contracted fundamental research have a
clear and common understanding of the relevant statutes, regulations, and policies,
including the definitions of key terms. Freedom from restrictions is most likely to be
achieved and maintained when contracts and grants for fundamental research require
perfonnance of work that is clearly and only fundamental research.

       It is critical for the smooth and efficient acquisition of fundamental research that
requiring activities or program managers determine, prior to issuance of solicitations and
award of contracts or grants, whether the work required is expected to be only
fundamental research. This will enable contracting and grants officers to use solicitation
provisions and clauses suitable for award instruments involving only fundamental
research. Requiring activities or program managers must regularly monitor the
perfonnance of contracts and grants for fundamental research so that appropriate action
may be taken if the character of the research changes.

       Solicitations, including Broad Agency Announcements, should indicate whether
perfonnance of research resulting from that solicitation is or is not expected to be
fundamental. Restrictions on publication, security review procedures, and other required
actions must be explicitly included in contract clauses or grant terms and conditions.
Any such inclusions must be fully consistent with the corresponding solicitation.

       I direct that this memorandum be broadly distributed within your organizations to
personnel in program management, contracting, security, and grants organizations, and
other appropriate organizations. I also direct that discussion and clarification of the
policies and guidance documents associated with contracted fundamental research be
included in general training modules for research program personnel. Each addressee of
this memorandum must report back to me in writing, by July 15, on the detailed plans of
incorporating this policy into broad training of all relevant personnel. I have delegated
ongoing monitoring of compliance with this policy to the DUSD (LABS). My point of
contact there is Dr. Robin Staffin, Director of Basic Research, at 703-588-1383.




Attachment:
As stated

cc:
Director, Defense Contract Audit Agency
Director, Defense Contract Management Agency


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